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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

     JESSICA HERRON,

                  Plaintiff,

           v.                                  Case No. 2:21-cv-205-JVB-JPK

     GRAND CANYON UNIVERSITY,

                  Defendant.

                               JOINT STATUS REPORT


     On October 13, 2021, the Court stayed this action at the parties’ request

     pending arbitration which is required by an arbitration clause in the par-

     ties’ contract. The Court ordered the parties to submit a status report by

     March 28, 2022:

        1. Plaintiff Jessica Herron initiated arbitration on February 28, 2022.

        2. The case should remain stayed.
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                                       Respectfully submitted,

                                       /s/ Jeffrey D. Stemerick
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                                       Attorney for Plaintiff, Jessica Herron

                            CERTIFICATE OF SERVICE

              I certify that on March 28, 2022, the above was filed using the

     Court’s CM/ECF system. Notice of this filing will be sent to all counsel of

     record by operation of the Court’s electronic filing system. Parties may

     access this filing through the Court’s system.

                                              /s/ Jeffrey D. Stemerick

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